      ________________________________________________________________________________
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    MICHAEL JAY BERGER (State Bar # 100291)
  1 LAW OFFICES OF MICHAEL JAY BERGER
    9454 Wilshire Blvd. 6th Floor
  2 Beverly Hills, CA 902 12-2929
    Telephone: (310) 271-6223
  3 Facsimile:    (310) 271-9805
    E-mail:       michael.berger@bankruptcypower.com

       Proposed Counsel for Debtor
  5    Leslie Klein
  6

                                                UNITED STATES BANKRUPTCY COURT
  8
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                LOS ANGELES DIVISION
 10
 11    In re                                                                             )   Case No. 2:23-bk-10990-SK
                                                                                         )
 12                                                                                      )   Chapter 11
       LESLIE KLEIN,                                                                     )
 13                                                                                      )   DEBTOR’S RESPONSE TO LIFE
                                                                                         )   CAPITAL GROUP, LLC’S MOTION
 14                       Debtor and Debtor in Possession.)                                  FOR ORDER AUTHORIZING AND
                                                                                         )   DIRECTING LIFE CAPITAL GROUP,
 15                                                                                      )   LLC TO PAY FUNDS TO CHAPTER
                                                                                         )   11 BANKRUPTCY ESTATE;
 16                                                                                      )   DECLARATION OF LESLIE KLEIN
                                                                                         )   IN SUPPORT THEREOF
 17                                                                                      )
                                                                                         )   Date:    May 17, 2023
 18                                                                                      )   Time:    9:00a.m.
                                                                                         )   Place:   Courtroom 1575
 19                                                                                      )            United States Bankruptcy Court
                                                                                         )            255 East Temple Street
 20                                                                                      )            Los Angeles, CA 90012
                                                                                         )
 21
 22                TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES

 23    BANKRUPTCY JUDGE; MOVANT LIFE CAPITAL GROUP, LLC; THE OFFICE

 24    OF THE UNITED STATES TRUSTEE; AND OTHER CREDITORS AND

25     PARTIES IN INTEREST:

 26                Debtor Leslie Klein submits his Response to Life Capital Group, LLC’s (“LCG”)

27 Motion for Order Authorizing and Directing LCG to Pay Funds to Chapter 11 Bankruptcy
28 Estate as follows:

          DEBTOR’S RESPONSE TO LIFE CAPITAL GROUP, LLC’S MOTION FOR ORDER AUTHORIZING AND DIRECTING
                    LIFE CAPJTAL GROUP, LLC TO PAY FUNDS TO CHAPTER Ii BANKRUPTCY ESTATE:
                                DECLARATION OF LESLIE KLEIN IN SUIPOR1 THEREOF
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  1          The Debtor filed his Bankruptcy petition on February 22, 2023. Debtor included in

  2 his Schedules A/B his ownership interest in LCG. Debtor also listed Gestetner Charitable
  3 Remainder Trust (“Gestetner”) on his Schedule D. A true and correct copy of Debtor’s
  4 Schedules A/B and D are attached to the Declaration of Leslie Klein as Exhibit “1.” LCG
  5   also filed a Motion for Relief stating that third party creditor Gestetner asserts a competing

  6 interest in Debtor’s ownership interest in LCG and thus Gestetner and LCG seek to
  7 arbitrate the issue with the Rabbinical Counsel of California (“RCC”) which provides
  8 arbitration services to the orthodox Jewish community pursuant to Torah Law. Debtor is
  9 concurrently opposing that Motion for Relief on the basis that the RCC’s own website
 10 indicates that the RCC determines issues based on Torah Law and not on Bankruptcy law
 11   or California state law. (See Debtor’s Opposition to LCG’s Motion for Relief). There must
 12 be a determination by this Court as to Debtor’s claim of his ownership interest in the
 13   Movant, as the determination of the assets of the Debtor is a core proceeding to be
 14 determined by the Bankruptcy Court.
 15          In the meantime, LCG has funds that it seeks to distribute to the Debtor, until there

 16 can be a determination as to whether the Debtor or Gestetner are entitled to these funds.
 17 Currently, under the existing agreement between the Debtor and LCG, the Debtor is
 18 entitled to receive these distributions. As such, Debtor proposes to open a separate Debtor-
 19 in-Possession bank account, to hold and segregate the distributions from LCG to the
 20 Debtor, until there is a final adjudication of the underlying dispute between the Debtor and
 21   Gestetner. Having the Debtor hold the funds in a segregated Debtor-in-Possession bank
22 account is in the best interest of the creditors of the estate because until there is a
23 determination otherwise, the LCG distributions are property of the estate and should be
24 used to pay the Debtor’s creditors. Debtor will earmark those funds and not use the funds
25 until there is a determination as to who is entitled to the funds. The Bankruptcy Court, the
26 U.S. Trustee and all creditors will have oversight as to the funds since the Debtor will file
27 Monthly Operating Reports showing how much money is in each of the Debtor’s accounts.
28
                                                    2
       DEBTOR’S RESPONSE TO LIFE CAPITAL GROUP. LLC’S MOTION FOR ORDER AUTHORIZING AND DIRECTING
                 LIFE CAPITAL GROUP, LLC TO PAY FUNDS TO CHAPTER II BANKRUPTCY ESTATE;
                             DECLARATION OF LESLIE KLEIN iN SUPPORT THEREOF
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  1   If ultimately there is a determination that the Debtor was not entitled to the LCG

  2 distributions, then Gestetner will not be prejudiced and Debtor will turn over the funds.
  3          Wherefore, Debtor Leslie Klein respectfully requests that this Court issue an Order

  4 requiring LCG to issue the Debtor’s distributions to the Debtor, and for any other relief
  5 deemed necessary and proper.
  6
  7 DATED: May 3, 2023                            LAW OFFICES OF MICHAEL JAY BERGER

  8
  9




        I)FI3TOR’S RESI3ONSE TO LIFE CAPITAL. GROUP, LLC’S MOTION FOR ORDER AUTI-IORIZING AND DIRECTING
                    LIFE CAPITAL GROUI>, LLC TO PAY FUNDS TO CHAPTER II BANKRUPTCY ESTATE:
                                DECLARATION OF LESLIE KLEIN IN SUP1ORT THEREOF
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  1                             DECLARATION OF LESLIE KLEIN

  2          I, Leslie Klein, declare and state as follows:

  3          1.     I am the Debtor and Debtor-in-Possession (the “Debtor”). I am over the age

  4 of 18. I have personal knowledge of the facts I state below, and if I were to be called as a
  5 witness, I could and would competently testi1’ about what I have written in this
  6 declaration.
  7          2.     I filed my Bankruptcy petition on February 22, 2023. I included in my

  8 Schedules A/B my ownership interest in Life Capital Group, LLC (“LCG”). I also listed
  9 Gestetner Charitable Remainder Trust (“Gestetner”) on my Schedule D. A true and correct
 10 copy of my Schedules A/B and D are attached hereto as Exhibit “1.”
 11          3.     LCG also filed a Motion for Relief stating that third party creditor Gestetner

 12 asserts a competing interest in Debtor’s ownership interest in LCG and thus Gestetner and
 13 LCG seek to arbitrate the issue with the Rabbinical Counsel of California (“RCC”) which
 14 provides arbitration services to the orthodox Jewish community pursuant to Torah Law,
 15 and not under Bankruptcy law of California state law. (See Debtor’s Opposition to LCG’s
 16 Motion to Relief).
 17          4.     LCG has funds that it seeks to distribute to me, until there can be a

 18 determination as to whether Gestetner or I am entitled to these funds. Currently, under the
 19 existing agreement between LCG and myself, I am entitled to receive these distributions.
 20 As such, I propose to open a separate Debtor-in-Possession bank account, to hold and
 21   segregate the distributions from LCG to my estate, until there is a final adjudication of the
 22 underlying dispute between Gestetner and I.
 23          5.     Having me hold the funds in a segregated Debtor-in-Possession bank account

 24 is in the best interest of the creditors of the estate because until there is a determination
 25 otherwise, the LCG distributions are property of the estate and should be used to pay my
 26 creditors. I will earmark those funds and not use the funds until there is a determination as
 27 to who is entitled to the funds. The Bankruptcy Court, the U.S. Trustee and all creditors
 28
                                                     4
        DEBTOR’S RESPONSE TO LIFE CAPITAL GROUP, LLC’S MOTION FOR ORDER AUTHORIZING AND DIRECTING
                  LiFE CAPiTAL GROUI>, LLC TO PAY FUNDS TO CHAPTER Ii BANKRUPTCY ESTATE:
                              DECLARATION OF LESLIE KLEIN IN SUPPORT THEREOF
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    I will have oversight as to the funds since I will file Monthly Operating Reports showing
    2 how much money is in each of my accounts.
    3           6.   If ultimately there is a determination that I was not entitled to the LCG
    4 distributions, then Gestetner will not be prejudiced and I will turn over the funds.
    5         7.     Wherefore, I respectfully request that this Court issue an Order requiring
    6 LCG to issue my distributions to me, and for any other relief deemed necessary and
    7 proper.
    8         I declare under penalty of perjury under the law of the United States of America
                                                                                       s,
    9 that the foregoing is true and correct. Executed on May 3, 2023, in Los Angele
   10 California.


   12                                     By:__________

   13                                            Leslie Klein
   14
   15
   16
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   21
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  23
   24
  25
  26
  27
  28
                                                    5
                                                                   ORDER AUTHORIZING AND DIRECTING
        DEBTOR’S RESPONSE TO LIFE CAPITAL GROUP, LLC’S MOTION FOR
                  LIFE CAPITAL GROUP, LLCTO PAY FUNDS  TO CHAPTER   II BANKRUPTCY ESTATE;
                              DECLARATION OF LESLIE  KLEIN IN SUPPORT  THEREOF
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                            EXHIBIT 1
                                                                                              ______________________


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  Fill in this information to identify your case and this filing:

  Debtor 1                    Leslie Klein
                              First Name                               Middle Name                      Last Name

  Debtor 2
  (Spouse. if Sling)          First Name                               Middle Name                      Last Name


  United States Bankruptcy Court for the;                     CENTRAL DISTRICT OF CALIFORNIA

  Case number           2:23-bk-I 0990-SK                                                                                                                 O     Check if this is an
                                                                                                                                                                amended filing




 Official Form 1O6AIB
 Schedule A/B: Proprty                                                                                                                                         12115
                                                                                                                            list the asset In the category where you
 In each category, separately list and describe item.. List an asset only once. if an asset fits in more than one categoly,            for supplying correct
 think it fits best. Bu as complete and accurate as possible. if two married people are filing together both are equally responsible
                                                                                                                              name and case number (if known).
 Information. if more space Is needed, attach a separate sheet to this form. On the top of any additional pages write your
 Answer every question.

 ITi Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest in

 1 Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   C No. Go to Part 2.

    • Yes. Where is the property?




  11                                                                           What is the property? Chect, all that apply
        322 N. June Street                                                       • Single-family home                           Do not deduct secured claims or exemptions. Put
        Street address, if available or other description                                                                       the amount of any secured claims on ScheduleD
                                                                                   Duplex or multi-unit building
                                                                                 o Condominium or cooperalive
                                                                                                                                Creditors l4to Have Claims Secuiod by Property


                                                                                 C     Manufactured or mobile home
                                                                                                                                Current value of the       Current value of the
        Los Angeles                        CA       90004-0000                         Land                                     entire property?           portion you own?
        City                               Stats            ZIP Code             o lnvestmenl property                               $4,900,000.00              $2,450,000.00
                                                                                 C Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               C Other                                          (such as fee simple, tenancy by the entireties, or
                                                                              Who has sn interest in the property? Check one    a life estate), if known
                                                                                                                                50% is held in by Debtor and 50%
                                                                                                                                held by his Erika’s irrevocable marital
                                                                                 C     Debtor 1 only                            deduction trust
       Los Angeles                                                               C Debtor 2 only
       County                                                                   C Debtor 1 and Deblor 2 Only
                                                                                                                                     Check if this Is community property
                                                                                • At least one of the debtors and another            (see instructions)

                                                                              Other lnfonnation you wish to add about this item, such as local
                                                                              property identification number:
                                                                              Debtor’s principal residence; paid in full. The property is held in the
                                                                              marital deduction trust. The Debtor’s current spouse, Barbara Klein, has a
                                                                              life estate interest in the residence.




Official Form 106N8                                                                  Schedule NB: Property                                                                 page 1
                                                                                                     ____                   __________                 ______
                                                                                             ______-
                                                                                         ___________




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                                  Main Document     Page 5 of 57 number (if known)
   Debtor 1         Leslie Klein                               Case                2:23-bk-I 0990-8K

         If ‘ou own or have more than one list here:
  1.2                                                                     What Is the property?    Check all that apply

         315 N. Martel Avenue                                               •     Single-lamily home                          Do not deduct secured claims or exemptions. Put
         SIreel address     available, or other description                                                                   the amount of any secured Claims on ScheduleD:
                                                                                  Duplex or multi-unit building
                                                                            C                                                 Creditors Who Have Claims Secured by property.
                                                                                  Condominium or cooperative

                                                                                 Manufactured or mobile home
                                                                                                                              Current value of the       Current value of the
         Los Angeles                       CA         90036-0000            fl    Land                                        entire property?           portion you own?
         City                              Stale              ZIP Code      O    investment property                              $2,500,000.00                $2,500,000.00
                                                                            C    Timeshare
                                                                                                                              DescrIbe the nature of your ownership Interest
                                                                            C    Other                                        (such as fee simple tenancy by the entireties, or
                                                                         Who has an Interest in the property? Check           a life estate), if known.
                                                                              Debtor 1 only                                   100%
         Los Angeles                                                        D    Debtor 2 only
        County                                                              C   Debtor 1 and Debtor 2 only                      Check if this Is community property
                                                                            C   At least one of the debtors and another         (see instiuctioris)
                                                                         Other informatIon you wish to add about this Item, such as local
                                                                         property identification number:
                                                                         Single family residence; rental property. Debtor collects $5,500lmonth.


        If you own or have more than one, list here:
  1.3                                                                    What Is the property? Check all thai apply
        143 S. Highland Drive                                                    Single.famiiy home                          Do not deduct secured claims or exemptions. Put
        Street address, ii available, or other description                                                                   the amount of any secured claims on ScheduleD.
                                                                                 Duplex or multi-unit building
                                                                           C                                                 Creditors Who Have Claims Secured by Property.
                                                                                 Condominium or cooperative
                                                                           C
                                                                           C     Manufactured or mobile home
                                                                                                                             Current value of the       Current value 01 the
        Los Angeles                       CA        90036-0000                   Land                                        entire property?           portion you Own?
                                                                           Q
        City                              Stet               ZIP Code      C     investment property                              $2,200,000.00               $2,200,000.00
                                                                           C     Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           C
                                                                                 Other                                       (such as fee simple tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one      a life estate), if known.
                                                                          • Debtor 1 only                                    100%
        Los Angeles                                                        C     Debtor 2 only
        County                                                             O     Debtor 1 and Debtor 2 only                         Check if this Is community property
                                                                           O    At least one of the debtors and another
                                                                                                                                ci (see instructions)

                                                                         Other Information   you  wish to add  about this item, such as local
                                                                         property ldentlflcation number:
                                                                         Single family residence; rental property. Debtor collects $4,000 per month
                                                                         in rental income.




Official Form 1O6NB                                                        Schedule AIB: Property                                                                         page 2
                                                                                            _____________________________      __________________________________________
                                                                                                                               _____________________
                                                                                                                                                          ______________________




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   Debtor 1          Leslie Klein                                                                                          Case number   (if known)    2:23-bk-I 0990-SK

          If you own or have more than one, list here:
   1.4                                                                       What Is the property? Checic all that apply
          161 N. Poinsettia Place                                              • Single-family home                              Do not deduct secured claims or exemptions. Put
          Street address, if aveilabte, or other description                     Duplex or multi-unit building
                                                                                                                                 the amount of any secured claims on Schedule 0:
                                                                                                                                 Creditors Who Have Claims Secured by Properly.
                                                                                    Condominium or cooperative

                                                                               Q Manufactured or mobile home                     Current value of the       Current value of the
          Los Angeles                       CA         90036-0000              D Land                                            entire property?           portion you own?
          City                              State              ZIP Code       D investment property                                  $2,000,000.00                $2,000,000.00
                                                                              D Timeshare                                       Describe the nature of your ownership interest
                                                                              D Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest In the property? Checic one    a life estate), if known.
                                                                              I Debtor 1 only                                    100%
          Los Angeles                                                          D Debtor 2 only
         County                                                               D Debtor 1 and Debtor 2 only                         Check It thIs Is community property
                                                                                                                               D (see instructions)
                                                                              D At least one of the debtors and another
                                                                            Other infonnatlon you wish to add about this Item, such as local
                                                                            property Identification number:
                                                                            Single family residence; rental property. Debtor collects $3,000 per month
                                                                            rental income.


         If you own or have more than one, list here:
  15                                                                        What is the property? CIrecic all that eppty
         2560-B Whitewater Club Drive                                          Cl Single-family home                            Do not deduct secured claims or exemptions, Put
         Street address, if available, oc other description                                                                     the amount of any secured claims on Schedule D:
                                                                               Q Duplex or multi-unit building                  Creditors Who Have Claims Secured by Properly.
                                                                                  Condominium or cooperative
                                                                               •

                                                                              Cl Manufactured or mobile home                    Current value of the       Current value of the
         Palm Springs                      CA        92262-0000              Cl Land                                            entire property?           portion you own?
         City                              State              ZtP Code       Cl invesiment property                                    $350,000.00                 $350,000.00
                                                                             C Timeshare                                        Describe the nature of your ownership Interest
                                                                             D Other                                            (such as fee simple, tenancy by the entireties, or
                                                                            Who has an Interest In the property? Checic one     a life estate), if known.
                                                                             • Debtor 1 only                                    100%
         Riverside                                                            Cl Debtor 2 only
         County                                                               C Debtor 1 and Debtor 2 Only                           Check if this is communIty property
                                                                              Cl At least one of the debtors and another        Cl   (aee instructions)
                                                                            Other Information you wish to add about this item, such as local
                                                                            property Identification number:
                                                                            A condo with 2 bedrooms and 2 bathrooms; vacation home.




Official Form 1O6NB                                                           Schedule A/B: Property                                                                       page 3
                                                                                               ____________________________

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    Debtor        1     Leslie Klein                                                                                  Case number (if known)                2:23-bk-I 0990-SK

            If you own or have more than one, list here:
    1.6                                                                        What Is the property? Check all that apply
            3752 Ocean Drive                                                      • Single-family home                            Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description
                                                                                    Duplex or multi-unit building                 the amount of any secured claims on ScheduleD:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                  0 Manufactured or mobile home
                                                                                                                                  Current value of the           Current value of the
           Oxnard                            CA         93035-0000                ci Land                                         entire property?               portion you own?
           City                              State               ZIP Code        ci Investment property                               $2,400,000.00                   $2,400,000.00
                                                                                 ci Timeshare
                                                                                                                                  Descrtbe the nature of your ownership Interest
                                                                                 ci Other                                         (such as lee simple, tenancy by the entIretIes, or
                                                                               Who has an Interest In the property? Check one     a life estate), it known.
                                                                                • Debtor 1 only                                   100%
           Ventura                                                               ci Debtor 2 only
           County                                                                O Debtor 1 and Debtor 2 only                         Check II this is community property
                                                                                 ci At least one of the debtors and another           (see inelructiorls(
                                                                               Other information you wIsh to add about this Item, such as local
                                                                               property identificatIon number:
                                                                               Single family home; vacation home.


           If you own or have more t han one list here:
   17                                                                         What Is the property? Check all that apply
          Leonardo Plaza Hotel Jerusalem                                         D Single.family home                            Do not deduct secured claIms or exemptions. Put
          Street address, if available, or other descriptIon                                                                     the amount of any secured claIms on ScheduleD:
                                                                                 D Duplex or multi.unit building                 Creditors Who Have Claims Secured by Properly.
                                                                                 ci Condominium or cooperative

                                                                                Q Manufactured or mobile home
                                                                                                                                 Current value of the           Current value of the
          Jerusalem                                                             O Land                                           entire property?               portion you own?
          City                              Stale              ZIP Code              investment property                                $500,000.00                    $250,000.00
                                                                                ci Timeshare
                                                                                                                                 Describe the nature of your ownershIp Interest
                                                                                     Other     Unit in a hotel                   (such as fee simple, tenancy by the entireties, or
                                                                              Who has an interest In the property? ChecJ one     a life estate), if known.
                                                                                                                                 50% by Debtor and 50% by deceased
                                                                                     Debtor 1 only                               wife’s Irrevocable trust
          Israel                                                                ci Debtor 2 only
          County                                                                ci Debtor 1 and Debtor 2 only                        Check if this is communIty property
                                                                                ci At least one of the debtors and another           Isee instructions)
                                                                              Other Information you wIsh to add about this item, such as local
                                                                              property ldentiftcatlon number:
                                                                              Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.




Official Form 1 06N8                                                            Schedule NB: Property                                                                          page 4
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                                   Main Document      Page 8 of 57Case number (if known)
   Debtor 1           Leslie     Klein                                                   2:23-bk-I 0990-SK

           If you own or have more than one, list here:
   i.e                                                                             What is the property? Check all    that apply

           Dan Boutique Hotel Jerusalem                                               Q     Single-family home                        Do not deduct secured claims or exemptions. Put
           Street eddresz. it ovaiiable. or other descsipiion                                                                         the amount of any secured claims on Schedule 0:
                                                                                      J     Duplex or multi-unit building             Creditors Who Have Claims Secured by Proparty.
                                                                                            Condominium or cooperative

                                                                                      Q     Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
          Jerusalem                                                                   Q     Land                                      entire property?          portion you own?
          City                               State              ZIP Code              C     investment property                             $200,000.00                 $100,000.00
                                                                                      C     Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                      I     Other     Unltina hotel                  (such as fee simple, tenancy by the entiretIes, or
                                                                                   Who has an interest in the property? Check one    a life estate), if known.
                                                                                                                                     50% by Debtor and 50% by deceased
                                                                                            Debtor 1 Only                            spouses Irrevocable trust
          Israel                                                                      C     Debtor 2 only
          County                                                                      0   Debtor 1 and Debtor 2 only                      Check if this Is community property
                                                                                      C   At least one of the debtors and another         (see rnstructions)
                                                                                   Other information you wish to add about this Item, such as local
                                                                                   property identification number:
                                                                                   Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.


  2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any                             entrIes for
         pages you have attached for Part 1. Write that number here
                                                                                                                                                                $ 12 250 000 .00

 Describe Your Vehicles                                                                                                                                      —




 Do you own, lease, or have legal or equitable interest in any vehIcles, whether they are registered or not? Include any vehicles you own that
 someone else drives. It you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       DNo
       • Yes

                                                                                                                                     Do not deduct secured claims or exemptions. Put
   3.1     Make          Lexus                                             Who has an interest in the property? Check one            Ihe amount of any secured claims on Schedule 0:
           Model         LS500                                             • Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
           Year.         2021                                              D Debtor 2 only                                           Current value of the      Current value of the
           Approximate mileage                              n!a            D Debtor 1 and Debtor 2 only                              entire property?          portion you own?
           Other information.                                              O At leasl one of the debtors and another
          Leased vehicle. Monthly
          payment is $1,319.00.                                            C   Check if this is community property                                  $0.00                       $0.00
                                                                               (see insin.iclIo4ls)


                                                                                                                                     Do not deduct secured claims or exemptions. Put
  3 2     Make          Lexus                                              Who has an interest in the property? Check one            the amount of any secured claims on Schedule 0:
          Model         LS                                                 I Debtor I only                                           Creditors Who Have Claims Secured by Property
          Year          2021                                               0 Debtor 2 only                                           Current value of the     Current value of the
          Approximate mileage                               n/a            0 Debtor 1 and Debtor 2 only                              entire property?         portion you own?
          Olher information                                                0 At least one of the debtors and      another
          Leased vehicle. Debtor’s
          spouses drives this vehicle.                                     C   Check if this is community property                                 $0.00                        $0.00
                                                                               (See uiSiructionsl
          Monthly payment is $500.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                     page 5
       Case 2:23-bk-10990-SK Doc 109 Filed 05/03/23 Entered 05/03/23 18:28:55 Desc
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                                                       Entere
                                Main Document     Page 9 of 57
                                                             Case number (if known) 2:23-bk-I 0990-SK
 Debtor 1     Leslie Klein
                                                                                        vehicles, and accessories
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other, motorcycle accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles

   • No
   C   Yes



 5 Add the dollar value of the portion you own for all of your entries
                                                                       from Part 2, including any entries for                                       $0.00
   pages you have attached   for Part 2. Write that number here


ITiI’S DescrIbe Your Personal and Household Items
                                                                            Items?                                                  Current value of the
 Do you own or have any legal or equitable interest In any of the following                                                         portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    DNa
    • Yes. Describe

                               Debtor’s residence: Debtor’s residence: Couches, coffee tables,
                               dining room table with chairs, mattresses with bedframes, wall
                               mirrors, desk with chairs, lamps, rugs, dressers, kitchen table,
                               patio furniture, cabinets, refrigerators, and other household                                                      $8,000.00
                                      and furnishings


                               2560-B Whitewater Club Drive, Palm Spring vacation home: living
                               room sofa, table, chairs, dining room table and chairs, TV, phone,
                               kitchen appliances, china, beds and side tables, mirrors, paintings,                                               $5,000.00
                               and miscellaneous household goods and furnishings.


                               3752 Ocean Drive, Oxnard CA vacation home: living room sofa,
                               table, chaIrs, dining room table and chairs, TV, phone, kitchen
                               appliances, china, beds and side tables, mirrors, paintings, and                                                   $5,000.00
                               miscellaneous household goods and furnishings.


7 Electronics                                                                               printers, scanners; music collections; electronic devices
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers,
              including cell phones, cameras, media players, games
  ONo
  • Yes. Describe..
                                                                                                                                                  $3,000.00
                              I TVs, phones, computers
8. Collectibles of value                                                                    or other art objects; stamp, coin, or baseball card collections;
    Examples: Antiques and figurines: paintings, prints, or other artwork; books, pictures,
              other collections, memorabilia, collectibles
   DNa
   • Yes. Describe

                              f Books and art objects                                                               I                             $4,000.00



9. EquIpment for sports and hobbies
                                                                                  pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
   Examples: Sports, photographic, exercise, and other hobby equipment: bicycles,
             musical  instruments
   DNo
   • Yes. Describe

                                                              Schedule NB: Property                                                                    page 6
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  Debtor 1         Leslie Klein                                          (if known)                 Case number              2:23-bk-10990-SK

                                                                                                                                                 $2,000.00
                                  I Sports and Hobyy equipment                                                                               -




  10. Firearms
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
      D Yes. Describe

 11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      DN0
      • Yes. Describe

                                  j Debtor’s residence: Clothes and shoes                                                                        $2,000.00


 12. Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      DNo
      I Yes. Describe

                                  Fóbtors residence: Furs, diamond ring, gold necklace,
                                                                                                                                             $20,000.00
                                  [mngs, gold rings and costume jewelry                                           J
 13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    I No
    O Yes. Describe

 14. Any other personal and household Items you did not already list, Including any health aids you did not lIst
    • No
      0   Yes. Give specific information


 15       Add the dollar value of all of your entries from Part 3, IncludIng any entries for pages you have attached                       9 0 0 0 .0 0
          for Part 3. Write that number here


lThL Describe Your FInancaI Asaets
 Do you own or have any legal or equitable Interest In any of the following?                                                    Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      • No
   C Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   ONe
   • Yes                                                           Institution name:

                                           Checking account
                                   17.1.   endIng in 9401          Bank of America                                                           $4,000.00




Official Form 1O6NB                                           Schedule NB:   Property                                                              page 7
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  Debtor 1                                                                                             Case number (if known)    2:23-bk-I 0990-SK
               Leslie Klein

 18. Bonds, mutual funds, or publicly traded stocks
       Examples: bond funds, investment accounts with brokerage firms, money market accounts
    • No
    0   Yes                            institution or issuer name:
                                                                                                     an interest In an LLC, partnership, and
 19 Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
     joint venture
    ONo
    • Yes. Give specific information about them
                                 Name of entity:                                          % of ownership:

                                   Debtor has a 100% ownership interest in Bay
                                   Area Development, Co. Bay Area Development,
                                   Co. filed a chapter II bankruptcy petition on
                                   911212022, Case No.: 2:22-bk-15031-SK. On
                                   December 6, 2022, Bay Area entered Into a
                                   stipulation with Its secured creditor Scott Capital
                                   Management Fund 1, LLC and OUST to dismiss
                                   the case. The order dismissing the case with a
                                   180 day bar (due to pending RFS motion) was
                                   enterd on 12(612022. The real property owned by
                                   Bay Area Development, Co. went into
                                   foreclosure. The company currently does not                                                                       $0.00
                                                                                                            100%        %
                                   own any assets.


                                   Debtor has a membership Interest in Life Capital
                                   Group, LLC, which is an investment company.
                                   The LLC buys Insurance policies on other
                                                                                                            5%
                                   peoples lives and upon passing, the LLC
                                                                                                        membershi
                                   collects the funds and makes a distribution to its                                                         Unknown
                                   members.                                                             p interest      %


20. Government and corporate bonds and other negotiable and non.negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   • No
   0 Yes. Give specific information about them
                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension
                                                                                                        or profit-sharing plans
   • No
   0 Yes. List each account separately.
                             Type of account:                        Institution name:

22. SecurIty deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommuni
                                                                                                            cations companies, or others
   • No
                                                                     Institution name or individual:
   0 Yes

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
    0 Yes                Issuer name and description.

                                                                                                                 program.
24. Interests in an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition
    26 U.S.C. § 530(b)(1), 529A(b), and  529(b)(1).
   • No
   0 Yes                  institution name and description. Separately file the records of any interests.11 U.S.C.   § 521(c):
                                                                                                         or powers exercisable for your benefit
25. Trusts, equitable or future interests In property (other than anything listed in line 1), and rights
    ONo
                                                          Schedule NB: Property                                                             page 8
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   Debtor   1   Leslie Klein

     • Yes. Give specific Information about them...

                                        Klein Living Trust dated April 8, 1990. The Settlors of the Trust are
                                        Leslie Klein and Erika Noemi Klein, husband and wife. Erika Klein
                                        passed away several years ago, and pursuant to the trust
                                        provislon,Erika Klein’s interest in the assets is now in an
                                        irrevocable trust (“Marital Deduction Trust”). The assets of the
                                        trust are lIsted on Schedule A/B, item #1 for each property that is
                                          art of the Trust.                                                                                         $0.00


 26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    • No
    O Yes. Give specific information about them...
 27. Licenses, franchises, and other general IntangIbles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
    D Yes. Give specific information about them...
  Money or property owed to you?                                                                                                 Current value of the
                                                                                                                                 portIon you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

 28. Tax refunds owed to you
    • No
    C Yes. Give specific information about them, including whether you already filed the returns and the tax years


 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    • No
    C Yes. Give specific information

 30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
               benefits; unpaid loans you made to someone else
    O No
    • Yes. Give specific information..

                                             Isaac Kirzner. Debtor entered into an agreement with Isaac
                                             Kirzner whereby he paid the insurance premiums for Mr.
                                             Kirzner, and upon Mr. Kirzners passing, the Debtor would
                                             receive $1 Million.                                                                        $l,000,000.00


                                             Judith Bittman. Debtor entered into an agreement with
                                           j Judith Blttman whereby he paid the Insurance premiums for
                                           I Ms. Bittmanm and upon Ms. Bittmans passing, the Debtor                                     $1,000,000.00
                                           [would receive $1 Million.


31. interests In insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   I No
   C Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                 value:




Official Form 1O6NB                                         Schedule NB: Property                                                                page 9
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                                                                             known)                      Case number (if        2:23-bk-10990-SK
  Debtor 1          Leslie Klein

 32. Any Interest In property that is due you from someone who has died
                                                                                                                                      property because
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      someone has died.
       • No
       D Yes. Give specific information..


 33. ClaIms against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
       • No
       D Yes. Describe each claim
                                                                                                     and rights to set off claims
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
       • No
       O Yes.     Describe each claim

 35. Any financial assets you did not already list
    • No
       C    Yes. Give specific information..


 36.       Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached                    $2,004,000.00
           for Part 4. Write that number here                                                                                 L
IltII. Describe Any Susiness.Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable interest In any busIness-related property?
   • No. Go to Part 6.
   C Yes.       Go to line 36.



ITi Describe Any Farm. and Commercial FishIng-Related Property You Own or Have an Interest In.
    If you own or have an interest in farmland, list it In Part 1.

                                                                                                d
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-relate property?
    •No Go to Part7
       C     Yes. Go to line 47.


I1TW               Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       I   No
   O       Yes. Give specific information


 54.       Add the dollar value of all of your entries from Part 7. WrIte that number here                                                         $0.00




                                                                  Schedule A/B: Property                                                                 page 10
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  Debtor 1        Leslie Klein                                    number (if known)               Case                     2:23-bk-I 0990-5K

 IIt;         List thu Totals of Each Part of this Form

  55.   Part 1: Total real estate, line 2                                                                                          $12,250,000.00
  56.   Part 2:   Total   vehicles, line 5                                               $0.00
  57.   Part 3:   Total   personal and household items, line 15                     $49,000.00
  58.   Part 4:   Total   financIal assets, line 36                              $2,004,000.00
  59.   Part 5:   Total   busIness-related property, line 45                             $0.00
  60.   Part 6:   Total   farm- and fishing-related property, line 52                    $0.00
  61.   Part 7:   Total   other property not lIsted, line 54                 +           $0.00

  62. Total personal property. Add lines 56 through 61...                        $2,053,000.00   Copy personal property total        $2,053,000.00


  63. Total of all property on Schedule A/B. Add line 55       +   line 62                                                      $14,303,000.00




Official Form 1 06A’B                                          Schedule A/B: Property                                                      page 11
                                                                          _________________________

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                                                                         -,                                 ‘1
                                                            WAT[iI.i.I.1PlnrIp1
 Fill in this information to identify your case:

 Debtor 1                  Leslie Klein
                           First Name                      Middle Name                       Last Name

 Debtor 2
                           Frsl Name                       Middle Name                       Last Name
 ISP0USe if, lilina)

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:23-bk-10990-SK                                                                                                                Check If this is an
 lit knownl
                                                                                                                                                       amended filing


          106D
Official Form

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12115
                                                                                             equally responsIble for eupplying correct InformatIon. If more apace
Be as complete and accurate as possible. if two man’led people are filIng together, both are                               pages, wrIte your name and case
                                              number the entries, and attach It to this form. On the top of any additIonal
Is needed copy the Additional Page, fill It out,
number (It known).
1. Do any credItors have claIms secured by your property?
                                                                                                    nothing else to report on this form.
      D    No. Check this box and submit this form to the court with your other schedules. You have
      • Yes. Fill in all of the information below.

I              List All Secured Claims
                                                                                                                 Column A               Column B                Column C
 2. LIst alt secured  claims. if a creditor has more than one secured claim, list the creditor separately                               Value of collateral     Unsecured
                                                                                                                 Amount of claIm
 for each claim, if more than one creditor has a particular claim, list the other creditors in Part 2. As        Do not deduct the      that supports thIs      portion
 much as possible, list the claims In alphabetical order according to the creditors name.                        value of collateral.   claIm                   If any
                                                 Describe the property that secures the claim:                       $19,372.00           $2,400,000.00                      $0.00
1T1 CCO Mortgage Corp.
        Name
        Credilors                                3752 Ocean Drive Oxnard, CA 93035
                                                 Ventura County
                                                 Single family home; vacation home.
        Attn: Bankruptcy                         As of the date you fIle, the claim is: check alt that
        10561 Telegraph Rd                       apply.
        Glen Allen, VA 23059                     0 Contingent
        Number, Sheet, City, Stale & Zip Code    0 tinliquidated
                                                 0 Disputed
 Who owes the debt? Check one.                   Nature of lien. Check all that apply.
 • Debtor 1 only                                 DAn agreement you made (such as mortgage or secured
                                                    car loan)
 O Debtor 2 only
 0 Debtor 1 and Debtor 2 only                    0 Statutory lien (Such as tax lien, mechanic’s lien)
 0 At least one of the debtors and another       0 Judgment lien from a lawsuit
                                                 • Other (including a right to offset) Secured Line of
                                                                                                       Credit
 0 Check If this claIm relates to a
      community debt

                        Opened
                        05105 Last
                        Active
                                                          Last 4 digIts of account number         1428
 Date debt was incurred 1/09/23




                                                                                                                   by Property                                           page 1 ot8
Official Form 106D                              Schedule D: Creditors Who Have Claims Secured
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  Debtor 1      Leslie Klein                                                                                   Case number (nown)   2:23-bk-I 09904K
                First Name                  Middle Name                       Last Name


                                                     Describe the property that secures the claim:                  $138,719.00      $350,000.00           $0.00
 JJ Crediloi’e
    Chase Mortgage
               Name                                  2560-B Whitewater Club Drive Palm
                                                     Springs, CA 92262 Riverside
                                                     County
         BK Department                               A condo with 2 bedrooms and 2
         Mail Code LA4 5555 700                      bathrooms; vacation home.
                                                     As of the date you file, the claim is: Check alithat
         Kansas Ln                                   apply.
         Monroe, LA 71203                            D Contingent
         Number. Streal, City, State & Zip Code      Ci tinliquidated
                                                     CiDisputed
  Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  U   Debtor I only                                  Ci   An agreement you made (Such as mortgage or secured
                                                           car   loan)
    Debtor 2 only
  D Debtor 1 and Debtor 2 only                       Ci   Statutory lien (such as tax lien, mechanics lien)
  DAt least one of the debtors and another           Ci   Judgment lien from a lawsuit
  D Check it this claim relates to a                 I    Other (inctuding a right to offset)   Deed of Trust
    community debt

                                 Opened
                                 07105 Last
                                 Active
 Date debt was Incurred          8123122                      Last 4 digits of account number          2700

                                                                                                                                                   $24,334,038.
         Ericka and Joseph Vago                      Describe the property that secures the claim:               $24,334,038.99            $0.00             99
         Creditor’s Name                            Assets of the Debtor
        do Brian Procel
        Procel Law
                                                    As of (lie date you file, me claim is: Check all that
        401 Wilshire Blvd., 12th                    apply.
        Floor                                       O Contingent
        Santa Monica, CA 90401
        Number, Sti’eot, City, State & Zip Code     C     Unliquidated
                                                    • Disputed
 Who owes the debt? Check one.                      Nature of lien. Check alt that apply.

 • Debtor 1 only                                    Ci An agreement you made (such as rnosigage or secured
                                                          car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                       C     Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another          • Judgment lien from a lawsuit
 C    Check it this clatm relates to a              • Oilier (including a right to offset)      Notice of Judgment Lien
      community debt

 Date debt was Incurred         July 2020                     Last 4 dIgits of account number         5050




                                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 8
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                                                                                                            Case number (if known)   2:23-bk-10990-SK
 Debtor 1     Leslie Klein
             First Name                   Mitdla Name                       Last Name


                                                   Describe the property that secures the claim:                  $712,265.00        $2,400,000.00         $0.00
[[Fay Servicing LL.C
       Creditors Name                              3752 Ocean Drive Oxnard, CA 93035
                                                   Ventura County
                                                   Single family home; vacation home.
       Attn: Bankruptcy Dept                       As of the date you file, the claim Is: Check all that
       Po Box 809441                               apply.
       Chicago, 1L 60680                           0 Contingent
       Number, Street, City, State & Zip Code      D linliquidated
                                                   0 tispute
 Who owes the debt? Check one                      Nature of lien. Check all that apply.

 • Debtor 1 Only                                   0 An agreement you made (such as mortgage or secured
                                                         car loan)
 C Debtor 2 only
 0   Debtor 1 and Debtor 2 only                    C Statutory lien (such as tax lien, mechanics lien)
 C At least one of the debtors and another         C Judgment lien from a Lawsuit
 C Check if this claim relates to a                     Other (including a right to Offset)
                                                                                              1st Deed of Trust
     community debt

                        Opened
                        10113/04
                        Last Active
                                                            Last 4 digits of account number         9505
 Date debt was Incurred 08/20

                                                   Describe the property that secures the claim:                  $327,886.00        $2,400,000.00         $0.00
 Jay Servicing LLC
       Creditor’s Name                             3752 Ocean Drive Oxnard, CA 93035
                                                   Ventura County
                                                   Single family home; vacation home.
       Attn: Bankruptcy Dept                      As of the date you file, the claim Is: Check all that
       Po Box 809441                              apply.
       Chicago, IL 60680                           C Contingent
       Number, Street, City, State & Zç Code       0    Unliquidated
                                                   0 DIsputed
 Who owes the debt?        Check one               Nature of lien. Check all that apply.

 • Debtor 1 only                                   C An agreement you made (such as mortgage or secured
                                                      car loan)
 0 Debtor 2 only
 0 Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien,    mechanics lien)
 0 a.t least one of the debtors and another        0 Judgment lien from a lawsuit
 O Check it this claim relates to a                • Other (including a right to offset)      2nd Deed of Trust
     community debt

                              Opened
                              11104 Last
                              Active
                                                            Last 4 digIts of account number         9492
 Date debt was Incurred       8I09I22




                                                                                                         Property                                       page 3 of8
Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by
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   Debtor 1     Leslie Klein                                                                                    Case number   (known)   2:23-bk-I 0990-SK
                I-H-St Name                  M11111le Name                     Last Name


                                                                                                                      $49,436.57         $350,000.00             $0.00
 [] Ccedilor’s
    Fiore Racobs & Powers                               Describe the property that secures the claim:
               Name                                     2560-B Whitewater Club Drive Palm
         do Palm Springs                                Springs, CA 92262 RiversIde
         Country Club HOA                               County
         6820 Indiana Ave., Ste                         A condo with 2 bedrooms and 2
         140                                            bathrooms; vacation home.
         6820 Indiana Ave., Ste                        As of the date you fU, the claim Is: Checir all 11101
                                                       apply
         140
         Riverside, CA 92506                           ID Contingent
         Number, Street, City, Slate & Zip Code        ID tinhlquidated
                                                       C Disputed
  Who owes the debt?          Check one.               Nature of lIen. Check alt that apply.
  ID Debtor 1 only                                     ID An agreement you made (such as mortgage or secured
  ID Debtor 2 only                                            car loan)
  ID Debtor 1 and Debtor 2 only                        o Statutory hen (such as tax lien, mechanics lien)
  • At least one of the debtors and another            ID Judgment lien from a lawsuit
  IDCheck if this claim relates to a                   • Other (including a right to offset)     HOA Assessments
       community debt

  Date debt was Incurred         2020 2023
                                         -                       Last 4 digits of account number        4460

         Gestetner Charitable                                                                                                              Unknown          Unknown
                                                       Describe the property that secures the claim:               $2,000,000.00
         Remainder Trus
         Creditors Name                                Debtor has a membership interest in
                                                       Life Capital Group, LLC, which Is an
                                                       Investment company. The LLC buys
                                                       Insurance policies on other people’s
                                                       lives and upon passing, the LLC
                                                       collects the funds and makes a
                                                       distribution to its members.
        do Andor Gestetner                             5% m
                                                      As of the date you file, tile claim Is: Checx all trial
        1425 55th Street                              apply
        Brooklyn, NY 11219                             ID    Contingent
        Number. Street, City, Slate & Zip Code         ID tinliquidated
                                                       C Disputed
 Who owes the debt? Check one                         Nature of lien. Check all that apply.

 • Debtor 1 only                                      Li An agreement you made (such as mortgage or secured
                                                             car loan)
 C Debtor 2 only
 C Debtor 1 and Debtor 2 only                         C Statutory lien (such as tax lien, mechanic’s lien)
 O At least one of the debtors and another            C Judgment lien from a lawsuit
 O Check If this cialm relates to a                   • Other (including a right to   offset)   UCC Financing
       community debt

 Date debt was Incurred         5/14/2021                       Last 4 digits of account number        3629




Official Form   106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of S
         Case 2:23-bk-10990-SK Doc 109 Filed 05/03/23 Entered 05/03/23 18:28:55 Desc
           Case 2:23-bk-10990-sK Main Document
                                 Doc 34             Page
                                          Filed 03/08/ 23 22 of 33
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                                  Main Document     Page 21 of 57
                                                                                                                       case number (it known)   2:23-bk-I 0990-SK
 Debtor 1      Leslie Klein
               First Name                            Middle Name                       Last Name


         Los Angeles County Tax                                                                                                $15,000.00       $4,900,000.00          $0.00
 2.8                                                          Describe the property that secures the claim:
         Collector
         Creditors Name                                       322 N. June Street Los Angeles, CA
                                                              90004 Los Angeles County
                                                              Debtor’s principal residence; paid in
                                                              full. The property Is held In the
                                                              marital deduction trust. The
                                                              Debtor’s current spouse, Barbara
         Bankruptcy Unit                                      Klein, has a life estate Interest In the
         P08ox54110                                           res
                                                              Asof the date you file, the claim is: Check all that
         Los Angeles, CA
         90054-0027                                           D Contingent
         Number. Street,   City.   State & Zip Code           D Unuquidatea
                                                              D Drsputed
 Who owes the debt? Check one.                                Nature of lien. Check all that apply.

 I     Debtor 1 only
                                                              C An agreement you made (such as mortgage or secured
                                                                 car loan)
 D Debtor 2 only
 C Debtor 1 and Debtor 2 only                                 0 Statutory lien (such as tax lien, mechanics lien)
 C At least one of the debtors and another                    0    Judgment lien from a lawsuit
 C     Check it thia claim relates to a                       I    Other (including a right to Offset)   Property Taxes
       community debt

 Date debt was Incurred               2022 2023  -
                                                                       Last 4 digits of account number        3008

                                                              Describe the property that secures the claim:                  $954,432.00        $2,000,000.00          $0.00
         Mrc/unlted Wholesale M
         Credito?s Name                                       161 N. Poinsettia Place Los
                                                              Angeles, CA 90036 Los Angeles
                                                              County
                                                              Single family residence; rental
                                                              property. Debtor collects $3,000 per
                                                              month rental Income.
         Attn: Bankruptcy                                     Asof the date you file, the claim is: Check alt that
         P. 0. Box 619098
         Dallas, TX 75261                                     D Contingent
         Number. Street    city.   State & Zip   Code         D Unhiquidated
                                                              C Disputed
 Who owes the debt? Check one                                 Nature of lien. Check all that apply.
                                                              DAn agreement you        made (such as mortgage or secured
 • Debtor I only
                                                                    car loan)
   Debtor 2 only
 C Debtor 1 and Debtor 2 only                                 0    Statutory lien (such as tax lien, mechanics lien)
 D At least one of the debtors and another                    C    Judgment lien from a lawsuit
 C Check if this claim relates to a                           I    Other (including a right to offset)   Deed of Trust
    community debt

                                      Opened
                                      05/05 Last
                                      Active
                                                                      Last 4 digits of account number         2120
Date debt was incurred                11/17/22




                                                                                                                     Claims Secured by Property                     pnge   5 of 8
Officiat Form 1060                           Additional Page of Schedule 0: Creditors Who Have
          Case 2:23-bk-10990-SK     Doc 109 Filed 05/03/23 Entered 05/03/23 18:28:55 Desc
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                                     Doc 34           Page 23
                                            Filed 03/08/23    of 33 03/08/23 20:31:14 Desc
                                                           Entered
                                                                      Main Document                      Page 22 of 57
  Debtor 1         Leslie Klein                                                                                    Case number   (if known)   2:23-bk-I 0990-5K
                 First   Name                  Middle   Name                      Last Name




 11       Selene Finance
          Crethtor’s Name
                                                           Describe the property that secures the claim:
                                                           315 N. Martel Avenue Los Angeles,
                                                                                                                      $1,755,385.00           $2,500,000.00           $0.00

                                                           CA 90036 Los Angeles County
                                                           Single family residence; rental
                                                           property. Debtor collects
          Aftn: Bankruptcy                                 $5,500/month.
                                                          As of the date you tile, the claim Is: Check all that
          Po Box 8619                                     apply.
          Philadelphia, PA 19101                          0 Contingent
          Njmber, Street, City,   Stale & Zip Code        0 lintiquidated
                                                          0 Disputed
 Who owes the debt? Check one.                            Nature of lien. Check all that apply
  • Debtor 1 only                                         0 An agreement you made (such as mortgage or secured
                                                             car loan)
 D Debtor 2 only
 O Debtor 1 and Debtor 2 only                             0 Statutory lien (such as tax lien, mechanic’s lien)
 O At least one of the debtors and another                0 Judgment lien from a lawsuit
 0     ciiecit If this claIm relates to a                 • Other (including a right to offsel)     Deed of Trust
        community debt

                                    Opened
                                    08/18 Last
                                    Active
 Date debt was Incurred             6/22121                        Last 4 dIgits of account number         8372


 2.1     Shellpoint Mortgage                                                                                                                  $2,200,000.00           $0.00
 1                                                        Describe the property that secures the claim:               $1,213,516.00
         Servicing
         Credito(s Name                                   143 S. Highland Drive Los Angeles,
                                                          CA 90036 Los Angeles County
                                                          Single family residence; rental
                                                          property. Debtor collects $4,000 per
         Attn: Bankruptcy                                 month in rental income.
                                                          As of the date you file, the claim Is: Check all that
         Po Box 10826                                     apply.
         Greenville, SC 29603                             O Contingent
         Number,   Street, City, State & Zip Code         O Unhiquidated
                                                          C Disputed
 Who owes the debt? Check one                             Nature of lien. Check all lhal apply.
 • Debtor 1 only                                          C An agreement you made (such as mortgage or secured
                                                             car loan)
 0 Debtor 2 only
 D     Debtor 1 and Debtor 2 only                         D Statutory lien (such as tax lien,   mechanic’s lien)
 0 At least one of the debtors and another                C Judgment lien from a lawsuit
 C Check If this claim relates to a                       • Other (including a right to offset)     Deed of Trust
       community debt

                        Opened
                        04/19 Last
                        Active
 Date debt was Incurred 12/27/22                                   Last 4 digIts of account number        4516




Officiai Form 1060                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 6 of 8
         Case 2:23-bk-10990-SK                                Doc 109 Filed 05/03/23 Entered 05/03/23 18:28:55 Desc
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                                                               Doc 34            Page 24
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                                                                                      Entered
                                                                 Main Document                     Page 23 of 57
 Debtor 1 Leslie Klein                                                                                        Case number   (it known)   2:23-bk-I 0990-SK
                FHst Name                   Middle Name                      La5t Name


 2.1      Toyota Financial                                                                                             $34,318.00               $0.00        $34,318.00
 2        Services                                   Describe the property that secures the claim:
          Creditors Name                             2021 Lexus LS500 n/a miles
                                                     Leased vehicle. Monthly payment is
         Attn: Bankruptcy                           [$1,319.00.
                                                     As of the date you file, the claim is: cried, all that
          P0 Box 259001                              apply.
          Piano, TX 75025                            0 Contingent
         Number. Sheet, City, State & Zip Code       C Vnliquidated
                                                     C Disputed
 Who owes       the   debt?   Check one.             Nature of lien. Check all that apply.
 • Debtor 1 only                                     C An agreement you made (such as mortgage or secured
                                                           car loan)
 O Debtor 2 only
 0 Debtor 1 and Debtor 2 only                        C Statutory lien (such as tax lien, mechanics lien)
 OAt least one of the debtors and another            C Judgment lien from a lawsuit
 0 Check if this claim relates to a                  S Other (including a rIght to offset) Auto Lease
   community debt

                                 Opened
                                 05121 Last
                                 Active
 Date debt was incurred          3118122                      Last 4 digIts of account number         X788


 2.1     Toyota Financial                                                                                              $10,488.00               $0.00        $10,488.00
 3       Services                                    Describe the property that secures the claim:
         Creditor’s Name                            2021 Lexus LS n/a miles
                                                    Leased vehicle. Debtors spouses
                                                    drives this vehicle. Monthly
                                                    payment is $500.
         Afln: Bankruptcy                            As of the date you file, the claim is: Check all that
         Po Box 259001                              apply
         Piano, TX 75025                             o ContIngent
         Number, Street, City, State S Zip Code      D tinliquida ted
                                                     C Disputed
 Who owes the debt? Check one.                       Nature of lion. Check all that apply.

 • Debtor 1 only                                     C An agreement you made (such as mortgage or secured
                                                          car loan)
 C Debtor 2 only
 O Debtor 1 and Debtor 2 only                       D     Statutory lien (such as tax lien, mechanics lien)
 DAt least one of the debtors and another           C Judgment lien from a lawsuit
 0 Check if this claim relates to a                  • Other (including a right to offset)    Auto Lease
   community debt

                                 Opened
                                 06/21 Last
                                 Active
 Date debt was incurred          6/01/22                      Last 4 digIts of account number        Y582



     Add the dollar value of your entries In Cotumn A on this page. Write that number here:                       1     $31,564,856.56   I
     if this is the iaBt page of your form, add the dollar value totals from all pages.                           II    $31,564,856.56
     Write that number hero:

ITt          List Others to Be Notified for a Debt That You Already Listed
                                                                                                    already listed in Part 1. For example, if a coliection agency Is
Use this page only if you have others to be notified about your bankruptcy for a debt that you
                                                                                                  then list the collection agency here. Similarly, If you have more
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
                                                                                                      it you do not have additional persons to be notified for any
than one creditor for any of the debts that you listed In Part 1, list the additional creditors here.
debts in Part 1, do not fill Out or submit this page.




                                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 7 of 8
Official Form 106D
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                                                       Entered
                               Main Document     Page 24 of 57
  Debtor 1   Leslie Klein                                                            Case number (if lulown)          2:23-bk-10990-SK
             First   Name            Middle Name            Last Name


          Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.7
          Andor Gestetner
          do Law Offices of Jacob U nger                                       Last 4 digits ot account number   —




          5404 Whitsett Ave Ste. 182
          Valley Village, CA 91607

          Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
         Ericka and Joseph Vago
         124 N. Highland Ave                                                   Last 4 digits of account number_
         Sherman Oaks, CA 91423




Official Form 1060              Additional Page of ScheduleD: Creditors Who Have Claims Secured by Property                                page 8 of 8
                                                                                                                   -




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                                                                                       Entere d 03/08/23 20:31:14 Desc
                                                                  Main Document                        Page 25 of 57
  Fill in this information to identify your case:

  Debtor 1                    Leslie Klein
                              First Name                        M,ddIe Name                         Last Name

  Debtor 2
  (Spouse it, filinal         First Name                        Middle Name                         Last Name

  United States Bankruptcy Court for the:                 CENTRAL DISTRICT            OF CALIFORNIA

  Case number            2:23-bk-I 0990-5K
  lit knowni
                                                                                                                                                              Q    Check if this is an
                                                                                                                                                                   amended filing


 Official Form 1 06E/F
                                                                                                                                                                                12115
 Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                            and Part 2 for creditors with NONPRIORITY claims. List the other party to
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims
                                                                                                 contracts on Schedule NB: Property (Official Form IO6AIB) and on
any executory contracts or unexpired leases that could result in a claim. Also list executory
                                                                                                  any creditors with partially secured claims that are listed in
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not Include
                                                                                                 the Part you need fill it out, number the entries In the boxes on the
Schedule 13: Creditors Who Have Claims Secured by Property. if more space is needed copy
                                                                                           Part, do not file that Part. On the top of any additional pages, wrIte your
left. Attach the ContInuation Page to this page. if you have no Information to report in a
name and case number (if known).
              List All of Your PRIORITY Unsecured Claims
  1.   Do any creditors have priority unsecured claims against you?
       • No Go to Part 2.
       0 Yes.
I1TW List All of Your NONPRIORITY Unsecured Claims
 3. Do any creditors have nonpriority unsecured claims against you?
       D No.      You have nothing to report in this part. Submit this form to the court with your other schedules.

       • Yes
                                                                                                                      holds each claim. If a creditor has more than one nonpriority
 4.    List all of your nonprtority unsecured claims in the alphabetical order of the creditor who
                          list the  creditor separately   for each  claim. For each  claim   listed, identify what type  of claim it is. Do not list claims already included in Part 1. If more
       unsecured claim,                                                                                              three  nonpriorily unsecured claims 611 out Ihe Corttinualion Page of
       than one  creditor holds   a  particular claim, list the other creditors in Part 3.11 you   have  more  than
       Part 2.
                                                                                                                                                                         Total claim

                                                                          Last 4 dIgits of account number           8296                                                            $7,450.00
               Bank of America
               Nonpriority Creditor’s Name
               Attn: Bankruptcy                                                                                     Opened 09/16 Last Active
               4909 Savarese Circle                                       When was the debt Incurred?               02/23
               Tampa, FL 33634
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               • Deblor 1 only                                            0 Contingent
               0 Debtor 2 only                                            0   Unhiquidaied
               0 Debtor 1 and Debtor 2 only                               0  Disputed
                                                                          Type of NONPRIORITY unsecured claim:
               DAt least one of the debtors and another
               O Check if this claim Is lore     community                0 Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
               UNo                                                        0 Debts to pension or protit-shartng plans, and other similar debts
               0 Yes                                                      • Other. Specify      Credit Card




                                                                                                                                                                                      Page 1 of 5
Official Form 106 ElF                                      Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                       24271
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                               Dcc 34
         Case 2:23-bk-10990-SK Main     Filed 03/08/
                                    Document      Page   Entere
                                                     23 27 of 33d 03/08/23 20:31:14 Desc
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                                                                                               Case number (innown)           2:23-bk-I 0990-SK
 Debtor I       Leslie Klein
                                                           Last 4 dIgits of account number       6416                                             $1.566.00
            Bank of America
          Nonpriority Creditors Name
          Attn: Bankruptcy                                                                       Opened 04189 Last Active
          4909 Savarese Circle                             When was the debt incurred?           02I23
            pFL 33634
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
            • Debtor 1 only                                0   Contingent

            D   Debtor 2 only                              0   Unliquidated

          D     Debtor 1 and Debtor 2 only                 0  Disputed
                                                           Type of NONPRIORITY unsecured claim:
          D At least one of the debtors and another
                                                           0   Student loans
          D Check if this claim is for a community                                                                              you did not
          debt                                             0  Obligations arising out of a separation agreement or divorce that
          is the claim subject to offset?                  report as priority claims

            • No                                           0 Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                            • Other. Specify     Credit Card


                                                           Last 4 dIgits of account number       0647                                             $8,896.00
                      yBk Delaware
          Nonpriority Creditor’s Name
          Attn: Bankruptcy                                                                       Opened 05109 Last Active
          Po Box 8801                                      When was the debt incurred?           1/1 1123
          Wilmington, DE 19899
          Number Street City State Zip Code                As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.
            • Debtor 1 only                                0 contingent
          O Debtor 2 only                                  0 Unliquidated
          0 Debtor 1 and Debtor 2 only                     0 Disputed
                                                           Type of NONPRIORITY unsecured claim:
          O At least one of the debtors and another
                                                           0 Student loans
          O Check If this claim Is bra community                                                                                       not
          debt                                             0 Obligations arising out of a separation agreement or divorce that you did
          I the claim subject to offset?                   report as priority claims

          • No                                             0 Debts to pension or profit-sharing plans, and other similar debts
          0     Yes                                        • Other.   Specriy   Credit Card


                                                           Last 4 dIgits of account number       9505                                             $1,695.00
          California Bank & Trust
          Nonpriority Creditors Name
                                                                                                 Opened 02183 Last Active
          Po Box 711510                                    When was the debt Incurred?           02123
          Santee, CA 92072
          Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
            • Debtor 1 only                                0 Contingent
          0 Debtor 2 only                                  0 Unliquidated
          0 Debtor 1 and Debtor 2 only                     0 Disputed
                                                           Type of NONPRIORITY unsecured claim:
          0 At least one of the debtors and another
                                                           C Student loans
          0 Check if this claim Is for a community
          debt                                             D Obligations arising Out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                  report as priority claims

          • No                                             o Debts to pension or profit-sharing plans, and other similar debts
          0     Yes                                        • Other. Specify     Credit Card




                                                                                                                                                    Page 2of5
Official Form 106 ElF                            Schedule ElF: Creditors Who Have Unsecured Claims
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                                         PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6th FL., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S RESPONSE TO LIFE CAPITAL
GROUP, LLC’S MOTION FOR ORDER AUTHORZING AND DIRECTING LIFE CAPITAL GROUP,
LLC TO PAY FUNDS TO CHAPTER 11 BANKRUPTCY ESTATE, DECLARARTION OF LESLIE
KLEIN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_5/3/2023__, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _51312023_, I served the following persons and/or entities at the last known addresses in this bankruptcy
                                                                                                                      mail,
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _5/3/2023                I served          ,




the following persons and/or entities by personal delivery, overnight   mail service,  or (for those who  consented   in writing to
such service method), by facsimile transmission and/or    email  as follows.  Listing the judge   here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
1-lonorable Sandra Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582 /Courtrooin 1575
Los Angeles, CA 90012
                                                                         LI Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    5/3/2023                     Peter Garza                                                   Is/Peter Garza
 Date                          Printed Name                                                     Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the central District of California.


June2012                                                                                           F 901 331 .PROOF.SERVICE
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1   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Goe Forsythe & Hodges: Reem J Bello rbellogoeforlaw.corn, kinurphy@goeforlaw.com
Goe Forsythe & Hodges Robert P Goe krnurphygoefor1aw.com, rgoegoeforlaw.com;goeforecfgmail.corn
Interested Party: Alan G Tipple Alan.Tippiegrn1aw.com,
ajjci’çcf.courtdri’c.coKaren.FiIes1d.ni law.coti patricia.dillamardgiiilaw.com, denise.wa1kergrnlaw.coin
Debtor’s Counsel: Michael Jay Berger michael.bergerbankruptcypower.com,
yath ida.nipha(bankruptcypower.com;rn ichael.bergcrecf. inforuptcy.com
Interested Party: Greg P Campbell chllecf@aldridgepite.com,
gcecf. inforuptcy.corn;gcampbel liJaldridgepite.corn
Counsel for Wilmington Savings Fund: Theron S Covey tcoveyraslg.corn, sferryraslg.com
Interested Party: Dane W Exnowski dane.exnowski@rnccalla.com,
bk.ca@rnccal fa.corn,rnccallaecf@ecf.courtdrive.com
U.S. Trustee: Michael Jones michael.jones4usdoj.gov
U.S. Trustee: Ron Maroko ron.maroko@usdoj.gov
Counsel for Ajax Mortgage: Joshua L Scheer jscheerscheerlawgroup.com, jscheerecf.courtdrive.corn
                                                                                                 com
Subchapter V Trustee: Mark M Sharf (TR) mark@sharflaw.com, CI 88@ecfcbis.com;sharfl O00@gmail.
United States Trustee (LA) ustpregion 16. la.ecfusdoj.gov
Interested Party: Michael L Wachtell rnwachtell@buchalter.com
U.S. Bank: John P. Ward jwardattleseystorrn.com, ezhangattleseystorm.com
Interested Party: Paul P Young paul@cym.law, jac lvn(thcy’m. law
Counsel for First Amendment Wendriger Family Trust dated May 7, 1990: Clarisse Young
youngshurnakersrncounsel.com, levcrnbsmcoiinscl.com
Interested Party: Roye Zur rzur@elkinskalt.com,
cavilaelkinskalt.com;lwagemanelkinskalt.com; I 648609420flhings.docketbird.corn


2. SERVED BY UNITED STATES MAIL:

U.S. Trustee
Attn: Ron Maroko, Esq.
915 Wilshire Blvd., Ste. 1850
Los Angeles, CA 90017

Subchapter V Trustee
Mark M. Sharf
6080 Center Drive #600
Los Angeles, CA 90045

SECURED CREDITORS:

CCO Mortgage Corp.
Attn: Bankruptcy
10561 Telegraph Rd
Glen Allen, VA 23059

Chase Mortgage
BK L)epartment
Mail Code LA4 5555
700 Kansas Lu
Monroe, LA 71203

                                                                                                                       District of California.
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central


June 2012                                                                                           F 901 33.1.PROOF.SERVICE
       Case 2:23-bk-10990-SK                     Doc 109 Filed 05/03/23 Entered 05/03/23 18:28:55                                      Desc
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Fay Servicing Lie
Atm: Bankruptcy Dept
Po Box 809441
Chicago, IL 60680

Mrc/united Wholesale M
Afln: Bankruptcy
P.O. Box 619098
Dallas, TX 75261

Selene Finance
Attn: Bankruptcy
Po Box 8619
Philadelphia, PA 19101

Sheilpoint Mortgage Servicing
Attn: Bankruptcy
Po Box 10826
Greenville, SC 29603

Toyota Financial Services
AUn: Bankruptcy
Po Box 259001
Piano, IX 75025

Toyota Motor Credit Corp.
P0 Box 9013
Addison, TX 75001 (Address fiorn POC)

Ericka and Joseph Vago
c/o Brian Procel
Procel Law
401 Wilshire Blvd., 12th Floor
Santa Monica, CA 90401 (Address from POC)

Ericka and Joseph Vago
124 N. Highland Ave
Shennan Oaks, CA 9423

Fay Servicing LLC
Afln: Bankruptcy Dept
Po Box 809441
Chicago, IL 60680

U.S. Bank
c/o Fay Servicing, LLC
P0 Box 814609
Dallas, TX 75381

Fiore Racobs & Powers
do Palm Springs Country Club HOA

           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June2012                                                                                           F 901 33.1.PROOF.SERVICE
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6820 Indiana Ave., Ste 140
Riverside, CA 92506

Gestetner Charitable Remainder Tnis
do Andor Gestetner
1425 55th Street
Brooklyn, NY 11219

Los Angeles County Tax Collector
Bankruptcy Unit
P0 Box 54110
Los Angeles, CA 90054-0027 (Address from POC)

Mrc/united Wholesale M
Attn: Bankruptcy
P.O. [3ox 619098
1)allas, TX 75261

Selene Finance
Attn: Bankruptcy
Po Box 8619
Philadelphia, PA 19101

Shellpoint Mortgage Servicing
Attn: Bankruptcy
Po Box 10826
Greenville, SC 29603

Toyota Financial Services
Attn: Bankruptcy
Po Box 259001
Piano, TX 75025

Wilmington Savings Fund Society
c/o Selene Finance LP
3501 Olympus Blvd., Ste. 500
Dallas, TX 75019 (Address from POC)

U.S. Bank Trust National Bank
do Fay Servicing LLC
P0 Box 814609
Dallas, TX 75381 (Address from POC)

U.S. Bank N.A.
do Nationstar Mortgage LLC
Attn: Bankruptcy Dept.
P0 Box 619096
Dallas, TX 75261 (Address from POC)

JP Morgan Mortgage Acquisition
c/o NewRez LLC dba Sheilpoint Mortgage Servicing

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California,


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P0 Box 10826
Greenville, SC 29603 (Address from POC)

Ajax Mortgage Loan Trust
do Gregoiy Funding LLC
P0 Box 230579
Tigard, OR 97281 (Address from POC)

20 LARGEST UNSECURED CREDITORS AND INTERESTED PARTIES:

Andor Gestetner
do Law Offices of Jacob Unger                                                     Chase Mortgage
5404 Whitsett Ave Ste. 182                                                        BK Department
Valley Village, CA 91607                                                          Mail Code LA4 5555
                                                                                  700 Kansas Ln
Bank of America                                                                   Monroe, LA 71203
Attn: Bankruptcy
4909 Savarese Circle                                                              Citibank
Tampa, FL 33634                                                                   Attn: Bankruptcy
                                                                                  P.O. Box 790034
Bank of America                                                                   St Louis, MO 63179
P0 Box 673033
Dallas, TX 75267 (Address from POC)                                               Franklin H. Menlo Irrevocable Trust
                                                                                  do Willkie Farr & Gallagher LLP
Barclays Bank Delaware                                                            AUn: Alex M. Weingarten, Esq.
Attn: I3ankruptcy                                                                 2029 Century Park East, Suite 3400
Po Box 8801                                                                       Los Angeles, CA 90067
Wilmington, DE 19899
                                                                                  Robert & Esther Mermelstein
California Bank & Trust                                                           c/o Baruch C. Cohen, Esq.
Po Box 71 1510                                                                    4929 Wilshire Blvd., Ste 940
Santee, CA 92072                                                                  Los Angeles, CA 90010 (Address from POC)

CCO Mortgage Corp.                                                                Franklin Menlo, Trustee
Attn: Bankruptcy                                                                  do Paul P. Young & Chora Young & Manasserian
10561 Telegraph Rd                                                                650 Sierra Madre Villa Ave. Ste. 304
Glen Allen, VA 23059                                                              Pasadena, CA 91107 (Address from POC)

Chase Card Services                                                               Jacob Rummitz
Attn: Bankruptcy                                                                  315 N. Martel Avenue
P.O. 15298                                                                        Los Angeles, CA 90036
Wilmington, DL 19850
                                                                                  Jeffrey Siegel, Successor Trustee
Chase Card Services                                                               of the Hubert Scott Trust
AUn: Bankruptcy                                                                   c/o Oldman, Cooley, Sallus
Po Box 15298                                                                      16133 Ventura Blvd., Penthouse Suit
Wilmington, DL 19850                                                              Encino, CA 9 1436-2408

Chase Doe
143 S. Highland Drive
Los Angeles, CA 90036

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Leslie Klein & Associates, Inc.                                                   First Amendment Wendriger Faimly Trust Dated May
do Parker Milliken                                                                7, 1990
555 Flower Street                                                                 do Clarisse Young Shumaker, Esq.
Los Angeles, CA 90071                                                             280 S. Beverly Dr. Ste. 505
                                                                                  Beverly Hills, CA 90212
Oldrnan, Cooley, and Sallus
16133 Ventura Blvd., Penthouse Suit
Encino, CA 9 1436-2408                                                            Jeffry Siegel, Successor Trsutee
                                                                                  c/o Oldman, Cooley, Sallus
Sandra Layton                                                                     161133 Ventura Blvd., Penthouse Suite
161 N. Poinsettia Place                                                           Encino, CA 91436 (Address from POC)
Los Angeles, CA 90036
                                                                                  Gestener Family Trust
                                                                                  Andor Gestetner
                                                                                  do Michael 1. Gottfried
                                                                                  10345 W. Olympic Blvd.,
                                                                                  Los Angeles, CA 90064 (Address from POC)




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